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IN THE UNITED STATES DISTRICT COURT FOR THE MIDDLE

DISTRICT OF LOUISIANA
HOWARD BROWN, ET AL., )
Plaintiffs, )
Vv. ) Case No. 3:23-CV-24-SMH-CBW
SHELLY DICK )
et al, )
Defendants. )

AMENDED NOTICE OF APPEAL

Notice is hereby given that Howard Brown, Brandon Sibley, and Melanie Jerusalem appeals to
the United States Court of Appeals for the Fifth Circuit from the Judgment (Doc. 37 & 91)

entered in this action on August 7, 2023.

Signed this 18" day of August, 2023.

Respectfully Submitted,

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CERTIFICATE OF SERVICE

UNDER PENALTY OF PERJURY, I CERTIFY that on August 8, 2023, a copy of the
notice of appeal was provided by electronic service, via PACER to:

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